

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0371-10





JOSE RAUL REYNA, Appellant


                  




v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH  COURT OF APPEALS


DALLAS COUNTY





		Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
because it does not contain a complete copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: August 25, 2010

Do Not Publish



